Case 3:16-cr-00813-H Document 61 Filed 08/10/18 Page|D.233 Page 1017

vRoB lzc ‘ August 7, 2018

(M/'l 7) pacls id: 1837932

UNI'I`ED STATES DISTRICT COURT
FOR THE
SOUTHERN DISTRICT OF CALIFORNIA

Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Miguel Angel MARQUEZ-Martinez (English) Dkt No.: 16CR00813-001-H
Reg. No.: 88370-308

Name of Sentencing Judicial Officer: The l-lonorable Marilyn L. Huff`, Senior U.S. District Judge

Original Offense: 18 U,S.C. § 1001 , False Statement to a Federal Officer, a Class D felony.

Date of Sentence: February 21, 2017

Senteoce: Nine months’ custody, three months’ custody (Special Conditions: Refer to Judgment and
Commilmem Order.)

Modii'lcation: On February 12, 2018, conditions of supervised release were modified to include a drug/alcohol
treatment condition, mental health treatment condition, and placement at a halfway house for a period of up to
six months.

Type of Supervision: Supervised Release Date Supervision Commenced: August 10, 2017
Asst. U.S. Atty.: Jarad E. Hodes Defense Counsel: Martin Molina
(Appointed)

619-640-5810
Prior Violation History: Yes. See prior court correspondence

 

 

 

PETITIONING THE COURT

TO ISSUE A NO-BAIL BENCH WARRANT

Case 3:16-cr-00813-H Document61 Filed 08/10/18 Page|D.234 PageZof?

PROB |ZlCI‘
Name of Offender: Miguel Angel MARQUEZ-Martinez August 7, 2018
pocket No.: iecnoosls-ool-H Pag€ 2

 

The probation officer believes that the offender has violated the following condition(s) of supervision:

CONDITION(S) ALLEGATION{S) OF NONCOMPLIANCE

(Mandatory Condition)

The defendant shall not illegally possess a 1. On July 10, and 26, 2018, Mr. Miguel Angel
controlled substance The defendant shall Marquez-Maitinez failed to comply with drug testing
refrain from any unlawful use of a requirements as instructed by the probation officer, in
controlled substance Submit to one drug that he failed to submit urine specimens at Career and
test within 15 days of release from Rccovery Resources, lnc. (CRR), as required.

imprisonment and at least two periodic
drug tests thereafter. Testing requirements
will not exceed submission of more than
four (4) drug tests per month during the
term of supervision, unless otherwise
ordered by the court. (nv3)

(Special Condition)

Participate in a program ofdrug or alcohol 2. On .1uly 18, 23, 25, and 30, 2018, and June 5, 2018,
abuse treatment, including drug testing Mr. Miguel Angel Marquez-Martinez failed to attend
and counseling, as directed by the drug treatment counseling at Career and Recovery
probation officer. Allow for reciprocal Resources, lnc. (CRR), as required.

release of information between the
probation officer and the treatment
provider. May be required to contribute to
the costs of services rendered in an
amount to be determined by the probation
officer, based on ability to pay. (nv21)

Groumls for Revocalion: As to Allegations 1 and 2, l have received email notification from CRR which
confimis that Mr. Marquez-Maltinez failed to report for drug testing and drug treatment counseling sessions on
the dates cited above. The offender commenced attending drug testing and treatment counseling services at
CRR in March 2018, and was required to report four times monthly for individual/group counseling sessions
and twice monthly for urinalysis. Mr. Marquez-Martinez reported to the probation office on August 2, 2018,
and was asked of his treatment/testing “no shows” outlined herein. Per the offender, he stated that he did not
feel like going to treatment He missed the drug tests because he was already testing at the halfway house
where he resides and did not believe he needed to report. Probation notes, however, that upon commencing
services at CRR in March 2018, Mr. Marquez-Maitinez Was specifically instructed to report for urinalysis, as
directed. CRR monthly treatment reports for the previous months of May and June 2018 show the offender
attended drug tests at the program, during which time he also submitted to urinalysis at the halfway house.

Case 3:16-Cr-00813-H Document 61 Filed 08/10/18 Page|D.235 PageSof?

 

PRoBiz{C)'

Name of Offender: Miguel Angel MARQUEZ-Martinez August 7, 2018

Docket No.: l6CR00813-001-H Page 3
VIOLATION SENTENCING SUMMARY

SUPERVISION ADJUSTMENT

 

Since releasing from custody in this case in August 10, 2017, Mr. Marquez-Martinez has been supervised in the
Southern District of Texas, while jurisdiction remained with the Southern District of California. I-Iis release
from immigration custody was granted pending asylum proceedings ln a violation report dated February 9,
2018, Your I-lonor was notified of the offender’s admitted use of cocaine on or about January 1, and 18, 2018.
The Court was also advised or the offender’s housing instability in the community during that time. As
recommended by probation, Your Honor imposed no adverse action in response to the drug use violations in
favor of modifications of supervised release to include conditions for drug/mental health treatment, as well as a
non-punitive placement at a community confinement center/halfway house. Mr. Marquez-Martinez
subsequently entered a halfway house and commenced drug treatment/testing services at CRR. He also
commenced mental health therapy at Legacy Community Health in May 2018, relative to his diagnosis for
PTSD and Bipolar Disorder.

ln a second violation report to the Court dated March 29, 2018, Your Honor was notified of the offender’s
admitted use of methamphetamine and cocaine on or about February 16, 2018. As recommended by probation,
the Court imposed no adverse action in response to the drug use violations, in favor of continuing drug/mental
health treatment services. Your Honor specifically instructed probation to “continue to monitor and encourage
compliance.”

The current allegations cited herein indicate Mr. Marquez-Martinez continues to struggle with compliance with
the orders of the Court. Further and despite having no alternative housing resources, the offender has
demonstrated a negative adjustment at the halfway house. Specifically, a halfway house incident report dated
July 31, 2018, detailed the offender was found to be in the community on that date, elsewhere from the drug
treatment services program he was supposed to attend at that time. When confronted by probation on
August 2, 2018, about this RRC program violation, Mr. Marquez-Martinez, admitted his misconduct and stated l
he Went to purchase hygiene items and search for an apartment instead of attending his counseling program.
Based on the foregoing, the offender’s adjustment is considered poor.

OFFENDER PERSONAL HISTORY/CHARACTERISTICS

Per the presentence report (PSR), it was determined that the offender is a transgender individual who identifies
as female and prefers the name “Angel." He is 34 years-old, single, and has no dependents The PSR cites a
long-standing history of physical and sexual abusc, as well as housing and employment instability. He has a
significant drug/mental health history reaching back to age 15. His criminal record is extensive and is sustained
during the last ten years. Mr. Marquez-Martinez has convictions for menacing, criminal trespass, disorderly
conduct, obstruction of justice, misrepresenting identity, sexual imposition, contempt of court, theft, assault,
domestic violence, grand theft, robbery, and attempted alien reentry. The PSR indicates the offender _is a non-
U.S. Citizen who has been deported on February 5, 2013, and June 16, 2014. As previously noted,
Mr. Marquez-Martinez was released from immigration custody in this case pending asylum proceedings

Case 3:16-Cr-00813-H Document 61 Filed 08/10/18 Page|D.236 Page4of7

 

 

PRoBlz<C)'

Name of Offender: Miguel Angel MARQUEZ-Martinez August 7, 2018
pocket No.: 16CR00813-001-H Pase 4
SENTENC[NG OPTIONS

CUSTODY

Statuto§y Provisions: Upon the finding of a violation, the court may modify the conditions of supervision;
extend the term (if less than the maximum authorized term was previously imposed); or revoke the term of
supervised release. 18 U.S.C. § 3583(e)(2) and (3).

lf` the court revokes supervised release, the maximum term of imprisonment upon revocation is 2 years.
18 U.S.C. § 3583(e)(3).

USSG Provisions: The allegations (failure to participate in drug treatment services and failure to submit to
urinalysis) constitute Grade C violations USSG §7Bl.l(a)(3), p.s.

A Grade C violation with a Criminal History Category Vl (determined at the time of sentencing) establishes an
imprisonment range of 8 to 14 months. USSG § 7Bl.4, p.s.

REIMPOSITION OF SUPERVISED RELEASE

lf supervised release is revoked and the offender is required to serve a term of imprisonment, the court can
reimpose supervised release upon release from custody. The length of such a term shall not exceed the term of
supervised release authorized by statute for the offense that resulted in the original term of supervised release,
less any term of imprisonment imposed upon revocation. 18 U.S.C.§ 3583(h).

ln this case, the court has the authority to reimpose a term of 36 month(s) supervised release, less any term of
imprisonment imposed upon revocation. 18 U.S.C. § 3583(b).

JUSTIFICATION FOR BENCH WARRANT

The Court has previously reported the offender’s multiple incidents of cocaine and methamphetamine use
during the course of supervision. The cited allegations indicate of the offender’s missed drug tests and apparent
refusal to participate in rehabilitation He has also misrepresented his whereabouts to the halfway house. Based
on the foregoing, the offender is viewed as an affirmative danger to the community and flight risk. This officer
respectfully recommends that a warrant of arrest be issued in order to gain the offender’s presence before the
Court.

RECOMMENDATION/JUSTIFICATION

 

Although Mr. Marquez-Martinez is before the Court for the first time facing violation proceedings, his
extensive and varied criminal history indicates of his propensity for criminality. Despite being afforded
housing, subsistence, drug/mental health treatment services from the Court and Probation, the offender’s
adjustment on supervision is marked by multiple drug use incidents, and an aversion to rehabilitation His
admitted misconduct at the halfway house is also notable. The current allegations for failing to attend drug
treatment and urinalysis are serious breaches of the Court’s trust.

Case 3:16-cr-00813-H Document61 Filed 08/10/18 Page|D.237 PageBof?

PRoBlzrci
Name of Offender: Miguel Angel MARQUEZ-Martinez August 7, 2018
pocket No.: 16CR00813-001-H Page 5

 

Should the Court find Mr. Marquez-Martinez in violation as cited herein, this officer respectfully recommends
that supervised release be revoked. A custodial sanction at the low-end of the Guidelines (eight months) appears
appropriate to hold the offender accountable for his recurring violation conduct, A two-year term of supervised
release is recommended to follow, under the current terms and conditions, in order to ensure his sobriety and to
afford him the necessary treatment resources toward achieving his goals. An additional non-punitive placement
at an RRC of up to 120 days is also recommended, toward assisting in the offender’s transition into the
community.

I declare under penalty of perjury that the
foregoing is true and correct.

Executed on: August 7., 2018

Respectfully submitted: Reviewed and approved:
DAVID .1. SULTZBAUGH
CHIEF PROBATION OFFlCER

/.' -
{, / /

 

 

/ /F’\`m
by “
Robert Carreon Julia .lauregui
Senior U.S. Probation Officer Supervising U.S. Probation Officer

(619) 409-5148

Case 3:16-cr-00813-H Document 61 Filed 08/10/18 Page|D.238 Page 60f7

PRoizizc'w August 7, 2018

VIOLATION SENTENCING SUMMARY

. Defendant: MARQUEZ-Martinez,l\/liguelAngel

 

. Docket No.(Year-Sequence-DefendantNo.): l6CR00813-001-H

 

. List Each Violation and Determine the Applicable Grade (See USSG § 7Bl . l):

 

 

 

 

 

 

 

 

Violationgs[ '(M

Failure to participate in a drug treatment program C

Failure to submit to urinalysis C
. Most Serious Grade of Violation (See USSG § 7Bl.l(b)) [ C ]
. Criminal History Category (See USSG § 7Bl .4(a)) [ Vl ]
. Range of Imprisonment (See USSG § 7B l .4(a)) [ 8 to 14 months ]

. Unsatisf"led Conditions of Original Sentence: List any restitution, fine, community confinement, home
detention, or intermittent confinement previously imposed in connection with the sentence for which revocation
is ordered that remains unpaid or unserved at the time of revocation (See USSG § 7Bl.3(d)):

Restitution ($) Community Confinement
Fine($) Home Detention

Other lntermittent Confinement

Case 3:16-Cr-00813-H Document 61 Filed 08/10/18 Page|D.239 Page 7of7

PRon mci

 

Name of Offender: Miguel Angel MARQUEZ-Martinez August 7, 2018
Docket No.: l6CR00813-001-H Page 7
THE COURT ORDERS:

g AGREE. A NO-BAIL BENCH WARRANT BE ISSUED BASED UPON A FINDING OF
PROBABLE CAUSE TO BRING THE OFFENDER BEFORE THE COURT TO S,HOW CAUSE
WHY SUPERVISED RELEASE SHOULD NOT BE REVOKED FOR THE ALLEGED

VIOLATIONS.
DISAGREE. THE ISSUANCE OF A SUMMONS ORDERING THE OFFENDER TO APPEAR
BEFORE THE COURT ON AT , TO SHOW CAUSE WHY

_______’
SUPERVISED RELEASE SHOULD NOT BE REVOKED.

Other

 

 

 

§z/C! 18

S S _ Dat€ l '{l
enior U. D1str1ct J ge
md,'@_

 

